









Dismissed and Memorandum Opinion filed August 28, 2003









Dismissed and Memorandum Opinion filed August 28,
2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-00591-CV

____________

&nbsp;

SURESHKUMAR SHAH, Individually and
as PRESIDENT OF VAISHNAVI CORPORATION, Appellant

&nbsp;

V.

&nbsp;

AKAI INVESTMENTS and SANJEEV
DABUBHAI PATEL, Appellees

&nbsp;



&nbsp;

On Appeal from the 190th District Court

Harris County, Texas

Trial Court Cause No. &nbsp;01-49584

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed May 13, 2003. The
notice of appeal was filed on May 21, 2003.&nbsp;
No proper affidavit of indigence was filed with or before the notice of
appeal.&nbsp; See Tex.&nbsp;
R.&nbsp; App.&nbsp; P.&nbsp; 20.1.&nbsp; To date, the filing fee of $125.00 has not
been paid.&nbsp; On July 31, 2003, this Court
issued an order stating that unless appellant paid the appellate filing fee of
$125.00 within fifteen days of the date of the order, the appeal would be
dismissed.&nbsp; 








The filing fee has not been paid, and appellant has not
responded to the Court=s order of July 31, 2003.

Accordingly, the appeal is ordered dismissed.&nbsp; See Tex.
R. App. P. 42.3(c).&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Judgment rendered and Memorandum
Opinion filed August 28, 2003.

Panel consists of Justices
Edelman, Frost, and Guzman.

&nbsp;

&nbsp;





